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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

SAFECO INSURANCE COMPANY OF IN- )
DIANA a/s/o Patrick and Susan Gillespie, )
                                         )
                       Plaintiff,        )
                                         )
                    v.                   )          No. 1:20-cv-00297-JRS-TAB
                                         )
FTL, INC.                                )
   d/b/a SOLEUS NA,                      )
DELONGHI AMERICA, INC.,                  )
TCL DELONGHI HOME APPLIANCES             )
CO. LTD Zhongshan,                       )
SOLEUS INTERNATIONAL, INC.,              )
SOLEUS N.A.,                             )
MJC AMERICA, INC.,                       )
MJC AMERICA LTD.                         )
   d/b/a SOLEUS INTERNATIONAL,           )
MJC AMERICAN HOLDINGS CO., INC.,         )
MENARDS, INC.,                           )
TCL HOME APPLIANCES COMPANY              )
LIMITED North America,                   )
                                         )
                       Defendants.       )


                              Order to Show Cause

   Plaintiffs brought a negligence and product liability action against Defendants in

Hendricks County Superior Court. (Pl.’s Compl., ECF No.1-2.) Plaintiffs allege that

their insureds’ house caught on fire as the result of using a Soleus Air dehumidifier.

(Id. at ¶¶ 14-16.) Seeking to invoke this Court’s diversity jurisdiction, Defendant

Menards, Inc. (“Menards”) filed a Notice of Removal (ECF No. 1).

   However, it does not appear that this Court has jurisdiction to adjudicate the

claims that Defendant seek to remove. “Courts . . . have an independent obligation

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to determine whether subject-matter jurisdiction exists, even in the absence of a chal-

lenge from any party.” Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006). “When a

federal court concludes that it lacks subject-matter jurisdiction, the court must dis-

miss the complaint in its entirety.” Id., quoted in Miller v. Herman, 600 F.3d 726,

730 (7th Cir. 2010); see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at any

time that it lacks subject-matter jurisdiction, the court must dismiss the action.”).

   A party seeking to invoke diversity jurisdiction under 28 U.S.C. § 1332 must pre-

sent a claim between parties of diverse citizenship that exceeds the jurisdictional

amount. Arbaugh, 546 U.S. at 513. The citizenship of a corporation is the state or

foreign state where it is incorporated and the state or foreign state where it has its

principal place of business. 28 U.S.C. § 1332(c)(1). The citizenship of an unincorpo-

rated association is “the citizenship of all the limited partners, as well as of the gen-

eral partner.” Hart v. Terminex Int’l, 336 F.3d 541, 542 (7th Cir. 2003). Defendant

has failed to properly plead the citizenship of Defendants FTL, Inc. d/b/a Soleus NA;

TCL Delonghi Home Appliances (Zhongshan) Co., Ltd.; Delonghi America, Inc.; TCL

Home Appliances (North America) Company Limited, Soleus International, Inc.; So-

leus N.A.; MJC America, Inc.; MJC America, Ltd. d/b/a Soleus International; MJC

America Holdings Co., Inc.

   Menards must therefore properly plead, for each Defendant corporation, the for-

eign or domestic state of incorporation and the foreign or domestic state in which it

has its principal place of business in order for this Court to determine if diversity




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jurisdiction exists. Similarly, as for unincorporated association Defendants, Menards

must properly plead the citizenship of all their partners.

   Further, “[a]s a general rule, all defendants must join in a removal petition in

order to effect removal.” N. Ill. Gas Co. v. Airco Indus. Gases, 676 F.2d 270, 272 (7th

Cir. 1982). “A petition filed by less than all of the named defendants is considered

defective if it fails to contain an explanation for the absence of co-defendants.” Id. at

273. But any defect in the removal process other than the lack of subject-matter

jurisdiction will be forfeited unless it is raised within thirty days. McMahon v. Bunn-

O-Matic Corp., 150 F.3d 651, 653 (7th Cir. 1998) (citing 28 U.S.C. § 1447(c)). Menards

does not state whether the other Defendants join in its removal petition. Therefore,

while Menards’ failure to join all the Defendants in its notice of removal may not be

fatal to the Court’s jurisdiction, the parties should address this failure.

   Defendant shall have through March 2, 2020 to file an amended Notice of Re-

moval or otherwise show cause why this action should not be remanded for lack of

subject-matter jurisdiction. In doing so, Defendant must clearly identify the state(s)

of each party’s citizenship and principal place of business, as appropriate, as set out

herein. Failure to do so in the time allotted will result in the remand of this action

without further notice or opportunity to show cause.

   SO ORDERED.

      Date:      2/3/2020




Distribution via CM/ECF to all registered parties.

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